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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF ILLINOIS
                                   EAST ST. LOUIS DIVISION

JANIAH MONROE, MARILYN MELENDEZ,                 )
LYDIA HELENA VISION,                             )
SORA KUYKENDALL, and SASHA REED,                 )
                                                 )
                    Plaintiffs,                  )
                                                 )
        - vs-                                    )          No. 18-156-NJR
                                                 )
ROB JEFFREYS, MELVIN HINTON,                     )
and STEVEN BOWMAN,                               )
                                                 )
                    Defendants.                  )

  DEFENDANTS’ NOTICE CONCERNING PLAINTIFFS’ MONITOR SUBMISSIONS

    The Defendants, ROB JEFFREYS, MELVIN HINTON, and STEVEN BOWMAN (sued in

their official capacities only), by and through their attorney, Kwame Raoul, Attorney General for

the State of Illinois, provide the following notice concerning Plaintiffs’ monitor submissions

[Doc. 378]:

    1. This Court granted the parties leave to strike names of the opposing parties’ monitor

submissions as long as two names remain on each list after removal. [See Doc. 374].

    2. Accordingly, Defendants will strike Dr. R. Nicholas Gorton and Dr. Soo Chun from

Plaintiffs’ list.

    3. This notice will be Defendants’ submission to the Court and to Plaintiffs’ counsel.

                                                     Respectfully submitted,
                                                     ROB JEFFREYS, MELVIN HINTON, and
                                                     STEVEN BOWMAN,
                                                             Defendants,
Lisa A. Cook, #6298233                               KWAME RAOUL, Attorney General
Assistant Attorney General                           State of Illinois
500 South Second Street
Springfield, Illinois 62701                                 Attorney for Defendants,
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS
                             EAST ST. LOUIS DIVISION
JANIAH MONROE, MARILYN MELENDEZ, )
EBONY STAMPS, LYDIA HELENA VISION, )
SORA KUYKENDALL, and SASHA REED,   )
                                   )
            Plaintiffs,            )
                                   )
      - vs-                        )                         No. 18-156-NJR-MAB
                                   )
JOHN BALDWIN, MELVIN HINTON,       )
and STEVE MEEKS,                   )
                                   )
            Defendants.            )
                                    CERTIFICATE OF SERVICE

        I hereby certify that on January 14, 2022, the foregoing document, Defendants’ Notice
Concerning Plaintiffs’ Monitor Submissions, was electronically filed with the Clerk of the Court
using the CM/ECF system which will send notification of such filing to the following:

              John A. Knight                    jknight@aclu.il.org
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              Camille Bennett                   cbennett@aclu-il.org
              And all other counsel of record

                                                      s/ Lisa A. Cook
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